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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                      TALLAHASSEE DIVISION



ERIC K. BROOKS,

        VS                                      USDC NO. 4:19CV524-MW-CAS
                                                USCA NO. 21-10590-JJ

OFFICER DAMON MILLER,

                    TRANSMITTAL OF AMENDED RECORD ON APPEAL

The following documents are hereby transmitted to the Clerk, U. S. Court of Appeals.
The Certified Record on Appeal consist of total volumes as follows:

1       Volume(s) of pleadings: (1) ECF 17- DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
        AND SUPPORTING MEMORANDUM OF LAW WITH EXHIBITS A-C


2       Exhibits:       EXHIBIT A-SECOND JUDICIAL CIRCUIT PROBABLE CAUSE AFFIDAVIT,
                        EXHIBIT B-SECOND JUDICIAL CIRCUIT NOLLE PROSEQUI AND EXHIBIT C-
                        (1) CD MAVRIC VIDEO

Other: N/A

Please acknowledge receipt on the enclosed copy of this transmittal to: TALLAHASSEE DIVISION

                                                        JESSICA J. LYUBLANOVITS,
                                                        CLERK OF COURT

                                                        By: Ronnell Barker
                                                        Deputy Clerk
                                                        111 North Adams Street
December 7, 2021                                        Tallahassee, Florida 32301
